        Case 4:11-cr-40037-SOH Document 2155                            Filed 11/05/20 Page 1 of 2 PageID #: 7969
AO 245D (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                       Sheet 1



                                     UNITED STATES DISTRICT COURT
                                                         Western District of Arkansas
          UNITED STATES OF AMERICA                                     Judgment in a Criminal Case
                     v.                                                (For Revocation of Probation or Supervised Release)


                  EDWARD YOUNG
                                                                       Case No.         4:11CR40037-017
                       aka
                      “Dap”                                            USM No.          10158-078
                                                                                                    Alex Wynn
                                                                                                Defendant’s Attorney
THE DEFENDANT:
      admitted guilt to violation of condition(s)       Mandatory & Standard listed below     of the term of supervision.
      was found in violation of condition(s) count(s)                              after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                                 Violation Ended

One                          Mandatory Condition - Shall Not Commit Federal, State, or Local Crime               March 5, 2019


Two                          Standard Condition #2 – Shall Submit a Written Report Each Month                    February 28, 2019

       The defendant is sentenced as provided in pages 2 through           2       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
      The defendant has not violated condition(s)                          and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec.              6657                                     November 4, 2020
                                                                                            Date of Imposition of Judgment
Defendant’s Year of Birth:         1981

City and State of Defendant’s Residence:                                                          Signature of Judge
                  Texarkana, Arkansas
                                                                          Honorable Susan O. Hickey, Chief U.S. District Judge
                                                                                               Name and Title of Judge


                                                                                                  November 5, 2020
                                                                                                        Date
     Case 4:11-cr-40037-SOH Document 2155                                   Filed 11/05/20 Page 2 of 2 PageID #: 7970
AO 245D (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                       Sheet 2— Imprisonment

                                                                                                Judgment — Page   2       of   2
DEFENDANT:                EDWARD YOUNG
CASE NUMBER:              4:11CR40037-017

                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of :

Eighteen (18) months, with credit for time served in federal custody. The sentence will be served
consecutively to the term of imprisonment imposed in the Miller County Circuit Court, 46CR-19-198-2; no
term of supervised release to follow.


        The court makes the following recommendations to the Bureau of Prisons:


        The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:
              at                                      a.m.           p.m.       on                                    .
              as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              before 2 p.m. on                                              .
              as notified by the United States Marshal.
              as notified by the Probation or Pretrial Services Office.

                                                                     RETURN

I have executed this judgment as follows:




        Defendant delivered on                                                       to

at                                                 with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL


                                                                            By
                                                                                          DEPUTY UNITED STATES MARSHAL
